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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE


 SPIRE GLOBAL, INC.,

                  Plaintiff,                                   No. 1:25-cv-00168-GBW

            v.

 KPLER HOLDING SA,

                  Defendant.

       MOTION FOR EXEMPTION OF PERSONS FROM THE DISTRICT OF
     DELAWARE’S MAY 17, 2024 STANDING ORDER ON PERSONAL DEVICES

       Defendant Kpler Holding SA (“Kpler”) moves for an order to exempt certain persons from

the District of Delaware’s May 17, 2024 Standing Order on Procedures Regarding the Possession

and Use of Cameras and Personal Electronic Devices by Visitors to the J. Caleb Boggs Federal

Building and United States Courthouse (the “May 17, 2024 Standing Order”). In support of the

Motion, Kpler states as follows:

       1.        The District of Delaware’s May 17, 2024 Standing Order provides procedures to

regulate the possession and use of personal electronic devices by visitors to the J. Caleb Boggs

Federal Building and United States Courthouse, which require, inter alia, visitors to place personal

electronic devices in a locked pouch provided by U.S. Marshals. Paragraph 4 of the May 17, 2024

Standing Order provides for certain exemptions to the Standing Order.

       2.        A motion hearing is currently scheduled for February 26, 2025 in Courtroom 6B

before Judge Gregory B. Williams.

       3.        The following persons who intend to appear at the hearing require access to their

electronic devices, but do not have bar identification card or meet the exemptions listed in

Paragraph 4 of the May 17, 2024 Standing Order:
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   •   Steven A. Cohen, counsel to Kpler

   •   Kevin S. Schwartz, counsel to Kpler

   •   Graham W. Meli, counsel to Kpler

       4.     Kpler respectfully requests that the Court issue an order, in the form attached

hereto, to exempt the above persons from the District of Delaware’s May 17, 2024 Standing Order.



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Dated: February 25, 2025




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